        Case 2:21-cv-00545-BWA-JVM Document 18 Filed 08/16/21 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

BRITTANY BANCROFT                                                           CIVIL ACTION

VERSUS                                                                      NO. 21-545

217 BOURBON, LLC, et al.                                                    SECTION M (1)

                           SCHEDULING CONFERENCE NOTICE

       A SCHEDULING CONFERENCE will be held BY TELEPHONE on September 1,
2021, at 9:30 a.m. CDST for the purpose of scheduling a pre-trial conference and trial on the merits
and for a discussion of the status and discovery cut-off dates. The Court will be represented at the
conference by its Case Manager.

All parties are to call into the conference call at (877) 873-8018, Access Code: 2994682

          TRIAL COUNSEL are to participate in this conference. If, however, you are unable for
good cause to do so, another attorney in your firm may participate if acquainted with all details of
the case and authorized to enter into any necessary agreements. If for good cause neither is possible,
you must file a Motion and Order to Continue at least one week prior to the above date.


                                              Cherie Charles
                                              Case Manager, Section M
                                              (504) 589-7703
                                              August 16, 2021


COUNSEL ARE TO COMPLY WITH THE DISCLOSURE REQUIREMENTS OF
RULE 26(a)(1) AND 26(f). COUNSEL ARE TO BE PREPARED TO ANSWER THE
FOLLOWING QUESTIONS CONCERNING DISCLOSURE



COUNSEL ADDING NEW PARTIES SUBSEQUENT TO THE MAILING OF THIS
NOTICE SHALL NOTIFY SUCH NEW PARTY TO APPEAR AS REQUIRED BY THIS
NOTICE.
     Case 2:21-cv-00545-BWA-JVM Document 18 Filed 08/16/21 Page 2 of 2




                 IMPORTANT NOTICE TO COUNSEL

COUNSEL WILL BE REQUIRED TO ANSWER THE FOLLOWING
QUESTIONS CONCERNING DISCLOSURE AT THE CONFERENCE:

1.   Have all parties completed your Rule 26(a)(1) mandatory initial
     disclosures?

2.   Have all parties stipulated that initial disclosures under Rule 26(a)(1)
     will not be made in this case?

3.   Do any of the parties object to making Rule 26(a)(1) initial disclosures
     in this case?

4.   Have the corporate parties filed their corporate disclosure
     statements?




                                   - 2 -
